Case 8:14-cV-00803-.]S|\/|-TGW Document 1 Filed 04/04/14 Page 1 of 5 Page|D 1

IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF FLORIDA

TAMPA DIVISION
PEDRo FRANQUI
Plaimirf, cian ACTION
FlLE No
V.

sTELLAR RECOVERY CoLLECTIoN
AGENCY, 1Nc.

Defendant

 

COMPLA[NT AND DEMAND FOR .]URY TRIAL
Plaintiff, brings this action against Defendant, on the grounds and the
amounts set forth herein
I. PRELIMINARY STATEMENT
This action arises out of the facts and circumstances surrounding phone calls
made to the Plaintiff. Plaintiff, an individual, institutes this action for actual and
statutory damages against the defendant and the costs of this action against

Defendant for violations of the Telephone Consumer Protection Act (hereinaiier

“TCPA”) 27 U.S.C. 227 et seq.

Il. PARTIES
l. Plaintiff is a natural person residing in Pinellas County, Florida.

2. Defendant is a foreign for profit engaged in consumer debt collections

Case 8:14-cV-00803-.]S|\/|-TGW Document 1 Filed 04/04/14 Page 2 of 5 Page|D 2

3. Defendant was attempting to collect an alleged but unsubstantiated debt

against Plaintiff, which gives rise to this action.
III. .]URISDICTION AND VENUE

4. Jurisdiction is conferred on this Court by 28 U.S.C. 1331

5. Venue is this Distric-t is proper in that the Defendant transacts business here
and the conduct of underlying the complaint occurred in Pinellas County,
Florida, which falls under the jurisdiction of the Tampa Division of the
Middle District Court.

IV. STATUTORY STRUCTURE TCPA

6. The Telephone Consumer Protec-tion Act, 47 U.S.C. 227 (“TCPA”) amended
the Federal Communications Act 47 U.S.C. 151, et seq. (“FCA”) to address
the uses of automatic telephone dialing systems, artificial or prerecorded
voice messages, SMS text messages reviewed by cell phones, and the use of
fax machines to send unsolicited advertisements

7. Under the TCPA “autornatic telephone dialing system” (hereinafter
“ATDS”) means equipment which has the capacity-
(A) to store or produce telephone numbers to be called, using a random or

sequential number generator; and

(B) to dial such numbers

see, 47 U.s.C. 227(3)(1)

Case 8:14-cV-00803-.]S|\/|-TGW Document 1 Filed 04/04/14 Page 3 of 5 Page|D 3

8. Under the TCPA, it is unlawful to make any call (other than a call made for
emergency purposes or made with the prior express consent of the called
party) using any automatic telephone dialing system or an artificial or
prerecorded voice message to any telephone number assigned to a paging
service, cellular telephone Service, Specialized mobile radio service, or other
radio common carrier service, or any service for which the called party is
charged for the call.

9. Under the TCPA, a person or entity may, if otherwise permitted by the laws
of the rules of the court of a State, bring in an appropriate court of that State:

(A) an action based on a violation of this subsection or the
regulations prescribed under this subsection to enjoin such
violation,

(B) an action to recover for actual monetary loss from such a
violation, or to receive $500 in damages for each such
violation, whichever is greater, or

(C) both such actions

lf the court finds that the defendant willfully or knowingly violated this subsection

or the regulations prescribed under this subsection, the court may, in its discretion,

increase the amount of the award to an amount equal to not more than 3 times the

amount available under subparagraph (B) of this paragraph. 47 U.S.C. 227 (b)(3).

V. FACTUAL ALLEGATIONS

Case 8:14-cV-00803-.]S|\/|-TGW Document 1 Filed 04/04/14 Page 4 of 5 Page|D 4

10. On approximately 10 to 30 (or more) separate occasions, Defendant has called
Plaintiff`s cell phone without express authorization ln fact, Defendant had no
authorization of any kind with respect to calling Plaintiff's cell phone.

ll. Plaintiff had no prior business relationship with Defendant.

VI. TCPA VIOLATIONS

12. Plaintiff repeats, re~alleges, and incorporates by reference the foregoing
paragraphs The Defendant’s violations of the TCPA include, but are not limited
to, the following:
13. The actions of the Defendant individually and collectively violated the TCPA.
l4. By the Defendant calling the Plaintif`f` s phone without express consent and in
direct violation of Plaintiff’s instructions thereby Defendant violated the TCPA.
47 U.S.C. 227
15. By the Defendant calling the Plaintiff`s phone without consent and expressly,
Defendant violated the TCPA. 47 U.S.C. 227

WHEREFORE, Plaintiff` prays that judgment be entered against the Defendant
for the following:

(l)Statutory damages pursuant to TCPA 47 U.S.C. 227 (b)(3);

(2) Statutory damages pursuant to TCPA 47 U.S.C. 227 (d)(3);

(3)Fair and reasonable costs of this action, court costs and attorney’s fees;

(4`)Injur1ctive relief;

Case 8:14-cV-00803-.]S|\/|-TGW Document 1 Filed 04/04/14 Page 5 of 5 Page|D 5

(5) Such other and further relief that the Court deems just and proper.

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